   Case: 1:24-cv-02925 Document #: 20 Filed: 07/19/24 Page 1 of 11 PageID #:124




                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

 BRETT SOLOWAY,                             )
                                            )
                Plaintiff,                  )
                                            ) Case Number: 1:24-cv-02925
        v.                                  )
                                            ) Hon. Jeffrey I. Cummings
 ALM GLOBAL             LLC     and    HUGO )
 GUZMAN,                                    )
                                            )
                Defendants.                 )
                                            )

                      PLAINTIFF’S OPPOSITION TO DEFENDANTS’
                           MOTION TO STAY DISCOVERY

       Plaintiff respectfully opposes Defendants’ Motion to Stay Discovery (Dkt. 17). Brett

Soloway, Plaintiff in this case, is seeking compensation for damage to his professional reputation

resulting from content posted online by Defendants. Defendants’ publications insinuate that Mr.

Soloway’s departure from his role as General Counsel at Cushman & Wakefield in 2023 was a

termination connected to a legal case involving Trump, with Cushman as an involved third party.

To the contrary, Mr. Soloway’s exit from the company was of his own volition and on amicable

terms. The consequences of Defendants’ publications have been significant; Mr. Soloway has

faced difficulties securing employment within his field as potential employers and recruitment

agencies have been dissuaded from engaging with or employing him.

       Mr. Soloway’s lawsuit does not contain novel or complex issues. On the contrary, it is a

one-count suit alleging common law defamation. Additionally, no discovery has been served to-

date. Defendants have no basis to claim that discovery will be onerous or extraordinarily

burdensome on them; courts have dismissed motions to stay discovery for this exact reason. Any

stay at this point would slow down the litigation, not speed it up, which alone is grounds to deny

                                                1
    Case: 1:24-cv-02925 Document #: 20 Filed: 07/19/24 Page 2 of 11 PageID #:125




Defendants’ Motion. Most importantly, however, Mr. Soloway will be prejudiced by any further

delay. His professional reputation has been stained. This stain remains as the defamatory content

remains online. Defendants’ motion should be denied.

                                   STATEMENT OF FACTS

       On April 11, 2024, Mr. Soloway filed suit against Defendants for publishing two

defamatory articles and a tweet about him. (See Dkt. 1, Complaint). The first article and its

blatantly defamatory headline has been online since April 2023. (Id. at ¶2). The tweet (espousing

the same headline) has been online the same amount of time. (Id. at ¶49). The second article, which

substantially restates and republishes the defamatory content from the April Article, was published

in September 2023. (Id. at ¶84). It remains online. (Id. at ¶99).

       Both articles are defamatory, and in fact, defamatory per se. (Id. at ¶122). The articles

inaccurately link Mr. Soloway’s exit from his prior role as General Counsel at Cushman &

Wakefield to a third-party subpoena issue in a Trump case, which Cushman handled seven months

earlier. (Id., passim). Such content wrongly suggests that Mr. Soloway was discharged due to

subpar performance. (Id.) This is entirely inaccurate. (Id.) In reality, Mr. Soloway departed from

Cushman on good terms, in a manner completely unrelated to any legal proceedings involving the

company. (Id. at ¶53).

       Mr. Soloway has suffered ongoing and direct damage to his reputation. (See id. at ¶¶99-

115). His name has been irreparably affected. (Id. at ¶102). Prospective employers and business

partners are deterred from hiring or working with him. (Id.) Mr. Soloway provided multiple

specific instances of such harm in his Complaint. (Id. at ¶¶106-111). Despite written notice that

their allegations were false and constituted defamation, Defendants reinforced and continued to




                                                  2
    Case: 1:24-cv-02925 Document #: 20 Filed: 07/19/24 Page 3 of 11 PageID #:126




circulate the defamatory material. (Id. at ¶¶77-83). Left with no alternative, Mr. Soloway was

compelled to initiate this lawsuit. (Id. at ¶1).

                                        LEGAL STANDARD

        “There is no requirement that discovery cease during the pendency of a motion to dismiss.”

Harper v. Central Wire, Inc., 2020 WL 5230746, at *1 (N.D. Ill. Sept. 2, 2020) (citations omitted).

Rather, “a pending garden-variety motion to dismiss does not warrant a stay of discovery.”

Tamburo v. Dworkin, 2010 WL 4867346, at *2 (N.D. Ill. Nov. 17, 2010). Defendant “must show

that good cause exists… The good cause determination encompasses factors such as [1] whether

the stay will prejudice the non-movant; [2] whether the stay will simplify the issues in the case;

and [3] whether the stay will reduce the burden of litigation for the parties or the court.” Id. “It is

the movant’s burden to show that good cause exists for a stay.” Hayes v. Bd. Of Ed. for City of

Chicago, 2021 WL 8153761, at *1 (N.D. Ill. Dec. 22, 2021). Here, there is no good cause for a

stay of discovery. None of the three factors support a stay.

                                            ARGUMENT

        “In most cases, the existence of a dispositive motion is not the sole reason for granting a

stay.” Hayes, 2021 WL 8153761, at *1. Rather, “a stay of discovery is generally appropriate only

when a party raises a potentially dispositive threshold issue such as a challenge to plaintiff’s

standing.” Id. (citations omitted; emphasis added). A district court recently explained, “motions to

stay [discovery] pending a motion to dismiss will commonly turn on the nature of the issue

presented in the motion to dismiss, the nature of the discovery sought to be stayed, and the policy

considerations presented by the Court’s obligations to construe the Federal Rules of Civil

Procedure ‘to secure the just, speedy, and inexpensive determination of every action and

proceeding.’” Id. (citing Fed. R. Civ. P. 1). Indeed, “[w]here the court finds that a stay of discovery



                                                   3
    Case: 1:24-cv-02925 Document #: 20 Filed: 07/19/24 Page 4 of 11 PageID #:127




is unlikely to significantly expedite the litigation, and may actually slow it down, it will decline to

interfere.” Tamburo, 2010 WL 4867346, at *2.

       Here, Defendants do not raise a “potentially dispositive threshold issue” such as standing,

jurisdiction or qualified immunity in their motion to dismiss. Hayes, 2021 WL 8153761, at *1.

Defendants’ motion to dismiss arguments are normal and routine ones made in response to a

defamation claim. The motion to dismiss is a run-of-the-mill motion on Rule 12(b)(6) grounds and

is thus ineligible for a stay of discovery. See Tamburo, 2010 WL 4867346, at *2 (motion to stay

discovery denied where defendants did not raise immunity, their jurisdictional arguments were

already ruled upon, and the court could not conclude “the remaining claims” were “utterly

frivolous or patently without merit.”); Kapila v. Columbia Faculty Union, 2020 WL 13855895, at

*2 (N.D. Ill. Nov. 30, 2020) (motion to stay discovery denied pending a motion to dismiss where

the issues were “straightforward”). There is no requirement that discovery cease during the

pendency of a motion to dismiss. See SK Hand Tool Corp. v. Dresser Industries, Inc., 852 F.2d

936, 945 (7th Cir. 1988).

       Courts regularly deny motions to stay discovery in cases involving defamation. Tamburo,

2010 WL 4867346, at *2 (denying in part a motion to stay discovery in a suit with defamation and

tortious interference claims where defendants were not “raising a threshold issue such as immunity

from suit,” and their motion was “a pending garden-variety motion to dismiss” that did not

“warrant a stay of discovery.”); Murff v. Kervan, 2024 WL 2941933, at *2 (N.D. Ill. May 24, 2024)

(denying motion to stay discovery in an employment and defamation suit where party did not meet

its burden to show she would be “unduly prejudiced by continuing discovery”); Kapila v.

Columbia Faculty Union, 2020 WL 13855895, at *1 (N.D. Ill. Nov. 30, 2020) (denying a motion

to stay discovery in a labor and defamation case where defendants did not meet their burden to



                                                  4
    Case: 1:24-cv-02925 Document #: 20 Filed: 07/19/24 Page 5 of 11 PageID #:128




show a “need for departure from the general rule that a pending garden-variety motion to dismiss

does not warrant a stay of discovery.”).

       A. Factor one: a stay of discovery would prejudice Mr. Soloway.

       Defendants argue a brief stay will not unduly prejudice Plaintiff, arguing “general

prejudice” is insufficient. (Dkt. 17, Motion to Stay at 5). They further unjustly accuse Mr. Soloway

of delaying several months to contact Defendants and taking an additional six months before suing

for defamation. (Id. at n.1). This argument has no merit.

       To start, the notion of faulting Plaintiff for pursuing his legal rights, within the statute of

limitations, is absurd. Defendants essentially criticize Mr. Soloway for taking time to secure a

lawyer, send retraction letters (which they essentially ignored), and subsequently file suit on time.

Securing legal counsel, becoming familiar with a case, and deciding to sue due to sustained and

potential future harm can be a lengthy process, particularly in individual defamation cases.

Observing his reputation deteriorate, Mr. Soloway had to resort to litigation. Defendants do not

dispute the timing of the lawsuit; instead, they wrongfully deflect blame onto Mr. Soloway to

evade discovery. They cannot use this argument to delay proceedings or perpetuate damage to Mr.

Soloway. See, e.g., Ruud Lighting Inc. v. Cooper Lighting LLC, 2013 WL 12241197, at *1 (E.D.

Wis. Jan. 14, 2023) (court could not find that party acted “unfairly” with “delay” where he asserted

his claims as timely as possible despite waiting two years); Hunt v. Miller, 2008 WL 1914298, at

*1 (N.D. Ind. Apr. 28, 2008) (plaintiff’s “delay” in filing his complaint did not state a claim upon

which relief could be granted because he filed it within the statute of limitations).

       Defendants also ignore the per se nature of the claims in this case. Mr. Soloway’s

reputation among the legal community continues to be harmed each day that the articles are

available online. (See Dkt. 1, Compl. at ¶¶99-115). See, e.g., Lothschuetz v. Carpenter, 898 F.2d



                                                  5
    Case: 1:24-cv-02925 Document #: 20 Filed: 07/19/24 Page 6 of 11 PageID #:129




1200, 1208-09 (6th Cir. 1990) (in a defamation matter an injunction was “necessary to prevent

future injury to [the plaintiff’s] personal reputation and business relations.”); Mid-Am. Apartment

Comm’s, Inc. v. Philipson, 2024 WL 1178131, at *8 (W.D. Tenn. Mar. 19, 2024) (recognizing the

ongoing harm plaintiff was suffering in a defamation case). Courts have found that the nature and

immediacy of the claims at issue can be a reason to deny a stay. Se-Kure Controls, Inc. v. Sennco

Solutions, Inc., 675 F. Supp.2d 877, 879 (N.D. Ill. 2009) (prejudice to “business interests in

delaying resolution of [the] infringement claims … weigh[ed] against staying the entire

litigation.”); Weizel v. Main Street Connect, LLC, 2012 LW 3937007, at *1 (D. Conn. Aug. 28,

2012) (denying a motion to stay discovery where there was prejudice to plaintiffs because “each

day that passe[d] before plaintiffs can seek conditional certification… [wa]s a day the plaintiffs

lose off of their claims”). Courts have found that ongoing reputational harm is a factor that shows

prejudice and weighs against staying discovery. Avago Tech. Fiber IP (Singapore) Pte. Ltd. V.

IPtronics, Inc., 2011 WL 3267768, at *5 (N.D. Cal. July 28, 2011).

       Mr. Soloway is keen to vindicate himself and seek new opportunities in his legal career

without the stain of the articles. He sees this lawsuit as the sole method for achieving that. The

defendants have not demonstrated any specific difficulties they would encounter should the case

continue, and the process of traditional discovery alone does not constitute sufficient hardship.

Harper, 2020 WL 5230746, at *3-4 (denying a motion to stay where discovery was not unduly

burdensome and costly); Consumer Fin. Prot. Bureau v. TransUnion, 2023 WL 3605995, at *2

(N.D. Ill. Apr. 13, 2023) (motion to stay discovery denied where a stay would have unduly

prejudiced plaintiff and demonstrated more than a “fair possibility of harm”); Landis v. N. Am.

Co., 299 U.S. 248, 254 (1936) (“if there is even a fair possibility that the stay … will work damage

to someone else,” the party seeking the stay “must make out a clear case of hardship or inequity in



                                                 6
    Case: 1:24-cv-02925 Document #: 20 Filed: 07/19/24 Page 7 of 11 PageID #:130




being required to go forward.”); Baker v. Swift Pork Co., 2015 WL 6964702, at *1 (W.D. Ky. Nov.

10, 2015) (“the Court finds that the interest of plaintiff in prosecuting her claims outweighs the

burden on defendant to engage in discovery…”).

       B. Factor two: a motion to dismiss ruling in this case will not simplify the issues more
          than any other “garden-variety” motion to dismiss ruling.

       Defendants argue, presumptively, that their motion to dismiss will simplify the issues with

a dismissal. (Dkt. 17 at 5). This is essentially an argument that the merits of their dismissal motion

warrant a stay. But, as another judge has pointed out, “a discussion of the merits of the pending

motion to dismiss to evaluate whether the stay should be granted” is “inappropriate” because

“[a]llowing a stay of discovery where a party asserts that dismissal is likely would require the court

to make a preliminary finding of the likelihood of success on the motion to dismiss, effectively

circumventing the procedures for the resolution of such a motion.” Robinson v. Walgreen Co.,

2021 WL 2453069, at *3 (N.D. Ill. June 16, 2021). Additionally, this argument is “unpersuasive

because this is true anytime a dispositive motion is filed and granting a stay of discovery upon the

filing of a motion to dismiss would ‘allow the exception to swallow the rule.’” Harper, 2020 WL

5230746, at *2 (N.D. Ill. Sept. 2, 2020).

       Defendants rely on two cases where other courts stayed discovery because granting a

motion to dismiss would dispose of the entire case. (Dkt. 17 at 5-6). Both cases are inapplicable

and factually distinct. First, Rodriguez v. Ford Motor Co. was a class action matter where motions

to stay are frequently granted. 2022 WL 704780, at *1 (N.D. Ill. Mar. 9, 2020). The court in

Rodriguez specifically noted that “courts regularly stay discovery pending a ruling on a motion to

dismiss” in a putative class action, “[g]iven the burden, time and expense often associated with

responding to discovery” in those cases. Second, in Larry R. Sadler Irrevocable Tr. v. Retail Props.

of Am., Inc., plaintiffs in five related class action securities suits sought a “broad scope of

                                                  7
    Case: 1:24-cv-02925 Document #: 20 Filed: 07/19/24 Page 8 of 11 PageID #:131




discovery” after being instructed to only serve limited discovery that could aid in settlement

negotiations. 2013 WL 12333447, at *1 (N.D. Ill. Sept. 27, 2013). The court found the propounded

discovery was “both onerous and costly” and therefore allowed a stay.

       This, conversely, is a straightforward defamation case, as outlined in the joint status report.

(Dkt. 12). Defendants have not presented compelling facts to show that the nature of discovery in

this case will be broad, onerous and costly, nor has any discovery been ordered by the court or

propounded by Mr. Soloway to-date. Harper, 2020 WL 5230746, at *3-4 (denying a motion to

stay where discovery was not unduly burdensome and costly).

       C. Factor three: a stay of discovery would not reduce the burden of litigation because it
          would only serve to slow the resolution of the case.

       Defendants argue a stay will reduce the burden of litigation on the parties and the court.

(Dkt. 17 at 6). This is true in any case. But Defendants claim that the discovery burden will be

heavy because “it will be necessary for Defendants to probe evidence related to the Cushman

Contempt Proceedings and Plaintiff’s departure from the firm.” (Id.) This argument is nonsensical.

       First, this case is uncomplicated, concerning one count, a singular plaintiff, and two

defendants. Yes, the reasons for Mr. Soloway’s departure will be examined. However, Defendants

are overstating the need to delve into the underlying Trump proceedings to which Cushman was a

third party, in discovery. The Trump case is unrelated to his exit. Nevertheless, it is probable that

relevance constraints will limit discovery from straying into those proceedings too extensively.

Normal discovery rules provide the mechanisms with which to evaluate burden.

       Routine discovery in civil litigation is not a reason to stay a case. Courts have found that

cases deserving of a discovery stay involved “burdensome and costly” discovery, including class

actions, antitrust matters, and RICO claims. See Harper, 2020 WL 5230746, at *3 (“antitrust cases

are a typical type of case where discovery is so burdensome and costly that a stay pending decision

                                                 8
    Case: 1:24-cv-02925 Document #: 20 Filed: 07/19/24 Page 9 of 11 PageID #:132




on a motion to dismiss may be appropriate”) (collecting cases); Scott v. Jeffreys, 2021 WL

8545420, at *3 (N.D. Ill. Nov. 12, 2021) (denying a motion to stay discovery where “[i]n

examining the Complaint, the Court [did] not see that it present[ed] an unusually thorny or difficult

set of factual issues to be explored.”). This case does not present such circumstances.

       Second, Defendants fail to even substantiate this discovery burden. This reason alone is

grounds to dismiss their Motion to Stay. Id. at *4 (“Courts in this circuit find that broadly decrying

the time and expense that is expected to be associated with responding to discovery, without any

substantiation, does not establish good cause for staying discovery.”); see also Huang v. GeLab

Cosmetics LLC, 2023 WL 3226198, at *2 (N.D. Ill. May 3, 2023) (denying a motion to stay where

“no discovery had been served by any party” in the case and thus defendant’s argument that he

would “face overly burdensome and expensive discovery… lack[ed] specifics or support in the

record, and [was] wholly speculative.”); Scott, 2021 WL 8545420, at *3 (motion to stay denied

where defendant “presented no reason for the Court to conclude that the oral discovery… will be

so burdensome or costly that a stay is critically necessary to conserve the resources the parties or

the Court would expend if discovery proceeded now in full.”).

       Third, the authority to stay “must be exercised so as to secure the just, speedy, and

inexpensive determination of every action.” Fed. R. Civ. P. 1. Where a stay could “actually slow

down” litigation, courts should not interfere. Tamburo, 2010 WL 4867346, at *2. The parties have

already submitted a joint status report outlining reasonable dates for discovery. (Dkt. 12). Under

either party’s proposal, written discovery would commence this summer. (Id. at 4). If forced to

wait to start discovery until a decision on the motion to dismiss, this may cause unnecessary delay

in discovery and push the case timeline back by potentially six or more months. This delay is

needless and would only serve to slow the resolution of this case.



                                                  9
   Case: 1:24-cv-02925 Document #: 20 Filed: 07/19/24 Page 10 of 11 PageID #:133




          Fourth, Defendants fall back on the First Amendment to avoid discovery. (Id.) There is

nothing in Illinois law or federal procedure that necessitates treating a defamation case differently

than any other case in terms of proceeding with discovery. Defendants cite a Southern District of

Florida case which is neither applicable nor controlling. The case, in fact, highlights the flaws in

their argument. In Bongino v. Daily Beast Co., LLC, defendants brought an anti-SLAPP claim

against a defamation suit. 477 F. Supp. 3d 1310 (S.D. Fla. 2020). There is no SLAPP motion here.

Here, as the court in Robinson pointed out, “a discussion of the merits of the pending motion to

dismiss” have not yet been decided, and “requir[ing] the court to make a preliminary finding of

the likelihood of success on the motion to dismiss, [is] effectively circumventing the procedures

for the resolution of such a motion.” Robinson, 2021 WL 2453069, at *3.

                                              CONCLUSION

          A stay of discovery would prejudice Mr. Soloway, is not needed to simplify the issues, and

no burden has been shown that is necessary for discovery. Defendants’ motion to stay should be

denied.




Dated: July 19, 2024                                   Respectfully submitted,

                                                       /s/ Nicole E. Wrigley
                                                       Nicole E. Wrigley
                                                       Maura T. Levine-Patton
                                                       BENESCH, FRIEDLANDER, COPLAN &
                                                       ARONOFF LLP
                                                       71 South Wacker Drive
                                                       Suite 1600
                                                       Chicago, IL 60606-4637
                                                       Telephone: 312-212-4940
                                                       NWrigley@beneschlaw.com
                                                       MLevine-patton@beneschlaw.com

                                                       Counsel for Brett Soloway

                                                  10
   Case: 1:24-cv-02925 Document #: 20 Filed: 07/19/24 Page 11 of 11 PageID #:134




                                 CERTIFICATE OF SERVICE

       The undersigned certifies that on July 19, 2024, a copy of the foregoing document was

filed electronically and served by e-mail to all parties of record via ECF.




                                                              /s/ Maura T. Levine-Patton
                                                              One of the Attorneys for Plaintiff




                                                 11
